Case 2:04-Cr-20264-BBD Document 41 Filed 07/06/05 Page 1 of 2 Page|D 54
Fil,E'D E,’f____.___._ca‘°*D.C.

IN THE UNITED sTATEs msch coURT _
FoR THE wESTERN DISTRICT 01= TENNESSEE WESTERN BWEISH~BN l PH |‘ |l'

 

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UNITED STATES OF AMERICA, wI,D OF TN. F"%ET|P[_RS
Plaintili°,
VS. No.: - 0264-D `
FRANK SEA, 5 _ § ` y
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Defendant. _"""’,',~3;
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THIRD MOTION FOR CONTINUANCE

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COMES NOW the Defendant, FRANK SEA, by and through his attorney of record,
William C. Gosnell, who asserts that the Defendant is hereby requesting that the sentencing
hearing currently set for July 5, 2005, be continued The grounds for this motion is that the
Defendant, Frank Sea, is currently being treated by Dr. Mizelle at the Midtown Mental Health
Center. The Defendant has now been described (3) three new psychological medicines and

would ask this Court for a continuance to treat his mental condition.

Respectfully ubmitted,
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MOTION GRANTEI_)_, WilHam C. Gosne11#4369 "'
TE: -' 05 Attorney for Defendant
245 Exchange

  

Memphis, Tennessee 38105

QEB l lElQA'I`E QF SER§{ICE

I, William' C. Gosnell,. do hereby certify that a true and correct copy of the foregoing has
been mailed via U.S. Postage, postage prepaid to David Pritchard, U.S. Attorney’s Office, 167 N.

Main Street, Suite 800, Memphis, Tennessee 38103 on this th§ l , day of Juil§§ 2005.
Wi liam C. Gosnell

This document entered on the docket shee?in compliance L%/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20264 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

William C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

l\/lemphis7 TN 38105

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

